 1
     NICOLA T. HANNA
     United States Attorney
 2   DAVID M. HARRIS
     Assistant United States Attorney
 3   Chief, Civil Division
 4   CEDINA M. KIM
     Assistant United States Attorney                                      JS-6
 5   Senior Trial Attorney, Civil Division
 6
     MICHAEL K. MARRIOTT, CSBN 280890
     Special Assistant United States Attorney
 7         Social Security Administration
 8         160 Spear Street, Suite 800
           San Francisco, CA 94105-1545
 9         Telephone: (415) 977-8985
10         Facsimile: (415) 744-0134
           Email: Michael.Marriott@ssa.gov
11   Attorneys for Defendant
12
                          UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
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15
     NORMA LUGO,                             )
16                                           ) Case No. 2:20-cv-00819-PD
17         Plaintiff,                        )
                                             ) JUDGMENT OF REMAND
18                v.                         )
19                                           )
     ANDREW SAUL,                            )
20
     Commissioner of Social Security,        )
21                                           )
22
           Defendant.                        )
                                             )
23
           The Court having approved the parties’ Stipulation to Voluntary Remand
24
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
25
     (“Stipulation to Remand”) lodged concurrently with the lodging of the within
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     Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
27
     DECREED that the above-captioned action is remanded to the Commissioner of
28
     Social Security for further proceedings consistent with the Stipulation to Remand.

     DATED: October 20, 2020
                                     UNITED STATES MAGISTRATE JUDGE
